Case 2:21-cv-06007-JAK-MAR          Document 116   Filed 02/03/23   Page 1 of 3 Page ID
                                          #:1814



   1 Jeffrey A. Finn (State Bar No. 185248)
       jeff@finniplaw.com
   2 Taylor C. Foss (State Bar No. 253486)
       taylor@finniplaw.com
   3 FINN IP LAW, PC
      11400 West Olympic Boulevard, 9th Floor
   4 Los Angeles, California 90064-1582
     Telephone: (310) 310-7989
   5 Facsimile:  (310) 341-0345
     Attorneys for Plaintiff Bella Summit LLC,
   6 Third-Party Defendants Jeff Dagan Kyle Dagan
   7 Steven T. Gubner (State Bar No. 156596)
       sgubner@bg.law
   8 Ron Abrams (State Bar No. 140438)
       rabrams@bg.law
   9 BRUTZKUS GUBNER
      21650 Oxnard Street, Suite 500
 10 Woodland Hills, California 91367
    Telephone: (818) 827-9000
 11 Facsimile:  (818) 827-9099
    Attorneys for Defendant, Counter-Claimant
 12 and Third-Party Plaintiff Gamebreaker, Inc.
 13                               UNITED STATES DISTRICT COURT
 14          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 15 BELLA SUMMIT LLC, a California                 Case No. 2:21-cv-06007 JAK(MARx)
      limited liability company,
 16
                     Plaintiff,
 17
            vs.                                    STIPULATED DISMISSAL
 18
      GAMEBREAKER, INC., a California
 19 corporation,
 20                  Defendant.
 21 GAMEBREAKER, INC., a California
      corporation,
 22
                     Counter-Claimant,
 23
            vs.
 24
      BELLA SUMMIT LLC, a California
 25 limited liability company,
 26                  Counter-Defendant.
 27 GAMEBREAKER, INC., a California
      corporation,
 28

                                      STIPULATED DISMISSAL
Case 2:21-cv-06007-JAK-MAR       Document 116    Filed 02/03/23   Page 2 of 3 Page ID
                                       #:1815



   1              Third-Party Plaintiff,
   2        vs.
   3 JEFF DAGAN, an individual; and
       KYLE DAGAN, an individual,
   4
                  Third-Party Defendants.
   5
   6        Pursuant Plaintiff Bella Summit, LLC (“Bella”) and Defendant Gamebreaker,
   7 Inc. (“Gamebreaker”), by and through their attorneys of record, hereby stipulate as
   8 follows:
   9        1.    Pursuant to Federal Rules of Civil Procedure 41(a)(2), and subject to the
 10 Parties’ executed Settlement Agreement, that this action be dismissed with prejudice
 11 as to all claims, causes of action, and parties, with each party bearing its own
 12 attorneys’ fees and costs.
 13         2.    Notwithstanding the dismissal of this action, the Court shall retain
 14 ancillary jurisdiction to enforce the terms of the stipulated Settlement Agreement. See
 15 Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375 (1994).
 16         DATED this 3rd day of February 2023.
 17
 18                                 [Signature Page Follows]
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                                   STIPULATED DISMISSAL
Case 2:21-cv-06007-JAK-MAR     Document 116     Filed 02/03/23   Page 3 of 3 Page ID
                                     #:1816



   1 Dated: February 3, 2023             FINN IP LAW, PC
   2
                                         By:         /s/ Jeffrey A. Finn
   3                                          Jeffrey A. Finn
   4                                          Taylor C. Foss
                                         Attorneys for Plaintiff and Counter-Defendant
   5                                     Bella Summit LLC; Third-Party Defendant Jeff
   6                                     Dagan; and Third-Party Defendant Kyle Dagan

   7 Dated: February 3, 2023             BG LAW LLP
   8                                     By:        /s/ Ronald P. Abrams
   9                                         Steven T. Gubner
                                             Ronald P. Abrams
 10
                                         Attorneys for Defendant, Counter-Claimant,
 11                                      and Third-Party Plaintiff Gamebreaker, Inc.
 12
 13
 14
 15              ATTESTATION PURSUANT TO LOCAL RULE 5-4.3.4
 16        Pursuant to Local Rule 5-4.3.4, the undersigned certifies that all signatories to
 17 this document concur in its content and have authorized its filing.
 18
                                         By:       /s/ Taylor C. Foss
 19
                                               Taylor C. Foss
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                                 STIPULATED DISMISSAL
